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                                  UNITED STATES DISTRICT COURT                                            '   .-
                                    DISTRICT OF MASSACHUSETTS                                         ..• ,I I I·    C'
                                                                                                               , •        I




PAULJONES                                           Civil Action No. 1:19-cv-11093-ADB
Plaintiff
                 V.


MONTACHUSETTS REGIONAL TRANSIT AURTHORITYet al
Defendants
                                       NOTICE TO THE COURT
Plaintiff request the court to take notice that plaintiff mailed his opposition to the Federal District Court

on September 10, 2019 at 5:52 pm, please allow mailing time Thank you.


Respectfully Submitted

Isl Paul Jones                                                          September 12, 2019

Paul Jones
572 Park Street
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                                     CERTIFICATE OF SERVICE


I Paul Jones plaintiff Certify that I have mailed a copy to defendant's attorney of record, a true and

correct copy of the foregoing has been furnished via USP mail to the above-mentioned individuals

On this 12th day of September 2019.


Respectfully Submitted

Isl Paul Jones

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